











Opinion issued March 10, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-05-00174-CV
&nbsp;&nbsp;____________

IN RE BOYD B. MOORE, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator, Boyd B. Moore, filed a petition for writ of mandamus complaining that
Judge Halbach erred by compelling him to produce his “individual tax returns for the
years 1999-2003 as filed with the Internal Revenue Service.”


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Hanks.


